Case 2:19-cv-21271-JMV-MF Document 1-1 Filed 12/11/19 Page 1 of 18 PagelD: 4

EXHIBIT A
Case 2:19-cv-21271-JMV-MF Document1-1 Filed 12/11/19 Page 2 of 18 PagelD: 5
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 1 of 14 Trans ID: LCV20192017374

Law Offices of Genesis A. Peduto
Suzy Yengo, Esq., of counsel

8512 Kennedy Boulevard

North Bergen, New Jersey 07047
Tel. 201-433-6705
suzyroseesq@aol.com

Attorney for the Plaintiff Joan Simon

Suzy R., Yengo, Esq. of counsel (018041999)

 

JOAN SIMON

Plaintiff,

SAINT DOMINIC ACADEMY;
GUENDOLYN FERRALES /ndividually;
JANE DOES 1-5 (fictitious individuals)

Defendants.

 

 

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION
HUDSON COUNTY

DOCKET NO: HUD-L- -19

CIVIL ACTION

COMPLAINT, JURY DEMAND, R. 4:5-1
CERTIFICATION AND DESIGNATION
OF TRIAL COUNSEL

Plaintiff JOAN SIMON, by way of Complaint against Defendants, says the following:

FACTS COMMON TO ALL COUNTS

1. Plaintiff Joan Simon is an individual residing in the State of New Jersey.

2. Upon information and belief, Defendant Guendolyn Ferrales is an individual who

resides within the State of New Jersey; she is currently the Dean for the Defendant Saint

Dominic Academy. Defendant Saint Dominic Academy is an educational organization with a

principal place of business at 2572 Kennedy Boulevard, County of Hudson, State of New Jersey

07304. Defendant Saint Dominic Academy is an asset of the Dominican Sisters of Caldwell, 1
Case 2:19-cv-21271-JMV-MF Document 1-1 Filed 12/11/19 Page 3 of 18 PagelD: 6
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 2 of 14 Trans ID: LCV20192017374

Ryerson Avenue, Caldwell, NJ 07006. Defendant Saint Dominic operates under the auspices of
the Archdiocese of Newark, Superintendent Dr. Margaret Dames, 171 Clifton Avenue, Newark,
NJ 07104.

3. All actions alleged herein occurred and transpired in County of Hudson and this

vicinage is the proper venue.

4. The fictitious individuals Jane Does 1-5 are unknown individuals who Plaintiff
believes may have participated and conspired in with the illegal acts of Defendant Farrales and

Defendant Saint Dominic Academy.

5. Until October 9, 2018 termination Plaintiff was an employee of Defendant Saint
Dominic Academy; Plaintiff Simon held the position of Chairperson, Religion Department. At
the time of her illegal and unlawful termination, Defendant Guendolyn Farrales was the Dean of

the Defendant Saint Dominic Academy. Defendant Farrales continues in that position.

6. Immediate prior to the termination, Plaintiff Simon’s father-in-law had died the
evening prior. Plaintiff Simon was terminated without due process which typically includes
written advisement, discussion, perhaps a hearing, and demonstration of good cause. The
pretext for termination allegedly dated back to September 10, 2018. Termination was made
THE DAY PLAINTIFF SIMON RETURNED while Plaintiff Simon was returning from sick

leave after she had been involved in a motor vehicle accident.

7. Plaintiff Simon is an experienced professional with over four decades of being an
educator, specifically in teaching Theology, and overseeing the Religion Department for
Defendant Saint Dominic. Plaintiff Simon has a Masters in Theology. Plaintiff Simon was

replaced by a person with an English Degree, on the promise of employment in 2019-2020.

8. Plaintiff Simon had frequently made violations of the law and violations of
educational process known to the Defendant Academy’s Administration. Those violations
included, but not limited to, as permitted by Sarah Degnan and refused by Sister Marylou

Bauman, as permitted by Sarah Degnan:
Case | a a -CV- aaa) aMY,, ME Document
D-L-004248-19 1 9 6:23:

e Defendant Saint Dominic Academy failed to conduct monthly fire drills;

e Defendant Saint Dominic Academy failed and refused to include “Lock Down
Procedures” for the student body;

e Students’ medical records are not kept up-to-date;

e Students were left unattended throughout the school day and after school;

e Students are left after school, as Administrators leave the grounds when the
students complete their academic schedule. Sports meetings are held after school
without coaches being there; Students go to Lincoln Park without supervision;

e Drug use in the building has been observed; the Administration was advised.

When Plaintiff Simon divulged this information to Sister Marylou Bauman, the
latter stated, “there were not any drugs used and to mind your own business.”
Plaintiff Simon observed coming to school high on coke and marijuana.

e Sister Marylou Bauman refused to take action on Bullying Complaints. Sister
refused to address the student responsible for bullying, while the victim stayed out
of school for an extended period of time;

e Sister Marylou Bauman went on the PA System and described the female students
as “whores” for wearing their uniforms too short, as a neighbor coimplained to the
school. The upset students were greeting each other the next day, “Hi, Whore!”
To demonstrate the farcical nature of their acts, the Administration called an
Assembly the next day and told the students, “Sister never said that.”

e Sister Marylou Bauman demeaned the President of the Student Council by
making her get on her hands and knees to clean up spilled coffee. The Student’s
Parents

e were furious and when complaining to the Head of School, they were told to
“take it further if they wish, “ as nothing was done to Sr. Bauman.

e The Defendant Administration lacks credentials for their positions:

-Head of School Sarah Degnan has an Administration Degree but no

Principal’s License;
Case 2:19-cv-21271-JM
HUD-L-004248-19 1

=<
=
‘Tl
0
So
a
¢
3
D
5

t1-1 Filed 12/11/19 Page 5 of 18 PagelD: 8
(01/2019 6:23:06 PM Pg 4 of 14 Trans ID: LCV20192017374

-Not one Administrator has their credentials for the State of New Jersey;
-Academic Dean, Individual Defendant Guendolyn Ferrales, has a
Bachelor’s Degree from the Philippines. She does not have the Master’s

Degree that is required on her position;

-Sr. Marylou Bauman does not have a Master in Administration, only in
Guidance and English;
- Director of Admissions has a Bachelor’s Degree in Early Childhood;

e Defendant Saint Dominic Administration does not observe Confidentiality and
Privacy Act rights as they have discussed termination of Plaintiff Simon, Lori
Palmeri, Jim German, an Chris Kempt publicly and openly;

e Sr. Marylou Bauman maintains her own finance account, in which money raised
by the Students was improperly taken by Sr. Bauman for uses other than intended.
Plaintiff Simon brought this to the attention of Head of School. Sr. Bauman
refused to deliver funds to the Finance Department.

e Head of School Sarah Degnan has taken her minor daughter on class trips,
including overnights, for which the minor daughter is taking a seat of student that
was not permitted to go/attend;

e Most faculty members are not Certified in their subject area. This is not disclosed
to Parents who remit tuition for subject matter experts;

e Defendant Saint Dominc Academy refuses to comply with the 180 days of school

requirement of the State of New Jersey.

9. Likewise, during her tenure as Chairperson of Religion Department Plaintiff Simon
made the aforementioned incidents known to the Defendant SDA and the Individual Defendant

Farrales, as well as other administrators of SDA.
Case SD NOGA AS. vey Bocument

Filed
HUD-L-004248-1 5 of 1

of

Ap

2/11/19 Fane 6 of 18 PagelD: 9
Trans ID: LCV20192017374

10. On October 9, 2018, Defendant Saint Dominic Academy unlawfully and illegally
terminated Plaintiff Simon’s employment at the direction of Defendant Guendolyn Farrales, ,

Defendant Saint Dominic Academy, with the assistance and direction of

FIRST COUNT
(New Jersey Law Against Discrimination,
N.J.S.A. 10:5-1 to -42 — Age Discrimination)
11. Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if

set forth at length herein.

12. N.J.S.A. 10:5-12d prohibits an employer from retaliating against a person
because she opposes a practice or action that is unlawful under the New Jersey Law

Against Discrimination (“NJLAD”).

13. Plaintiff Simon’s complaint continued caring about the Academy and the

complaints of how she was being treated based on her age, constituted protected activity.

14. Thereafter, as a result of the protected activity, Defendant Saint Dominic
Academy, Defendant Farrales, and others unlawfully retaliated against Plaintiff Simon in

violation of NJLAD.

15. Said retaliation included, inter alia, creating a hostile work environment, denying
benefits under the employment agreement, employee handbook, and contract, and
thereafter terminating her employment on October 9, 2018. Plaintiff Simon was replaced

by a younger employee, who lacked credentials to even teach religion.

16. Defendant SDA’s conduct was egregious, willful and wanton and in reckless
disregard of Plaintiff Simon’s rights, and involved the participation of Defendant Saint
Dominic Academy’s Upper Management, thereby warranting an award of punitive

damages.
t1-1_ Filed 12/11/19 Page 7 of 18 PagelD: 10
of 14 Trans ID: LCV20192017374

17. In taking actions that she knew were a breach of SDA’s duty under NJLAD, and
knowingly giving substantial assistance or encouragement to the unlawful conduct of

their employer, Defendant Farrales is individually liable under NJLAD.

18. As a result of the Defendants’ unlawful conduct, Plaintiff Simon suffered
economic damages including loss of income and benefits and also suffered emotional

distress.

WHEREFORE, Plaintiff Simon demands that judgment be entered against Defendants
SDA and Defendant Farrales awarding her compensatory damages, inclusive of front and back
pay, emotional distress damages; punitive damages; reasonable attorney's fees and expenses

pursuant to N.J.S.A. § 10:5-27.1 and any other relief the Court deems proper and just.

SECOND COUNT
(New Jersey Law Against Discrimination,
N.J.S.A. 10:5-1 to -42 — Disability Discrimination)

19. Plaintiff Simon hereby repeats and realleges all of the allegations set forth above
as if set forth at length herein.

20. Plaintiff Simon suffered from disabling conditions that with an accommodation
could, and did, perform the functions of her position and profession. Defendant SDA ignored
their requirements of the law, and failed to accommodate Plaintiff Simon. |

21. Defendant Saint Dominic Academy termination Plaintiff Simon’s employment
constituted an unlawful employment action in violation of NJLAD.

22. In taking actions that they knew were a breach of Defendant Saint Dominic
Academy’s duty under NJLAD, and knowingly giving substantial assistance or encouragement
to the unlawful conduct of his employer, Defendant Guendolyn Farrales is individually liable
under NJLAD.

23. As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff

has suffered economic and emotional damages.
Case 2:19-cv-21271-JMV-MF Document1-1_ Filed 12/11/19 Page 8 of 18 PagelD: 11
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 7 of 14 Trans ID: LCV20192017374

24. Because of the involvement of members of Upper Management, Defendants are

liable for punitive damages.
WHEREFORE, Plaintiff Simon demands that a judgment be entered against
Defendants SDA and Defendant Farrales awarding 1) compensatory and punitive damages; it)
reasonable attorney's fees and expenses pursuant to N.J.S.A. § 10:5-27.1; and iii) such other

relief as this Court deems just and proper.

THIRD COUNT
(New Jersey Law Against Discrimination,
N.J.S.A. 10:5-1 to -42 — Hostile Work Environment)

25. Plaintiff hereby repeats and realleges all of the allegations set forth above as if set
forth at length herein.

26. | NJLAD prohibits creation of a hostile work environment through harassment.

27. The harassment to which Plaintiff Simon was subject, as further described in
paragraphs above, was sufficiently severe or pervasive that a reasonable person would have
deemed it to be hostile, abusive, intimidating, or offensive.

28, This harassment would not have occurred but for Plaintiff's Simon’s age.

29. The aforementioned constituted a hostile work environment.

30. Because they delegated to Defendant Farrales the authority to control Plaintiff
Simon’s working environment, and Defendant Saint Dominic Academy abused that authority to

create a hostile work environment, Defendant Saint Dominic Academy may be held liable.

31. Although Plaintiff complained to her direct supervisor as well as to the Defendant

Farrales, Defendant Saint Dominic Academy did not take appropriate measures.

32. In addition, Defendant Saint Dominic Academy was negligent in combating the
creation of a hostile work environment by, inter alia, failing to maintain effective sensing or

monitoring mechanisms to check the trustworthiness of its policies and complaint structures.
ment1-1_ Filed 12/11/19 Page 9 of ie PagelD: 12
(23:06 PM Pg 8 of 14 Trans ID: LCV20192017

33. This failure to maintain effective sensing or monitoring mechanisms is evidenced
by, inter alia, both Defendant Farrales and Sr. Marylou Bauman previous inappropriate conduct

toward other SDA employees, as well Joan Simon directly.

34, As evidenced by, inter alia, the open and notorious manner in which Defendant
SDA’s Administrators conducted their “pursuit” of Plaintiff JOAN SIMON and the inappropriate
conduct Defendant Farrales, Defendant Saint Dominic Academy failed to demonstrate an

unequivocal commitment from its highest levels that harassment will not be tolerated.

35. Defendants’ above-described actions constitute unlawful employment actions in

violation of NJLAD including, inter alia, N.J.S.A. § 10:5-12a.

36. In taking actions that she knew were a breach of Defendant Farrales’ duty under
NJLAD, and knowingly giving substantial assistance or encouragement to the unlawful conduct

of her employer, Defendant Farrales is individually liable under NJLAD.

37. As a direct and proximate result of Defendants’ discriminatory actions, Plaintiff

Simon has suffered economic and emotional damages.

38. Because of the involvement of members of Upper Management, Defendants are

liable for punitive damages.

WHEREFORE, Plaintiff JOAN SIMON demands that a judgment be entered
against Defendants SDA and Defendant Guendolyn Farrales awarding 1) compensatory and
punitive damages; 11) reasonable attorney's fees and expenses pursuant to N.J.S.A. § 10:5-27.1;

and 111) such other relief as this Court deems just and proper.
Case 2:19-cv-21271-JMV-MF Document 1-1 Filed 12/11/19 Page 10 of 18 PagelD: 13
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 9 of 14 Trans ID: LCV20192017374

FOURTH COUNT
(Termination in Violation of the New Jersey
Law Against Discrimination, N.J.S.A. 10:5-1, et seq.)

39. Plaintiff Simon repeats and re-alleges each and every prior allegation as if set forth at
length herein.
40. | Defendant SDA never articulated reasons for terminating Plaintiff's employment—that

she was returning from sick leave-- was a pretext. In fact, Plaintiff Simon was terminated for
being out for a period of time after a motor vehicle accident. Plaintiff was terminated on October

9, 2018 without warning, and after her father-in-law had died a night previous.

41. In taking actions that they knew were a breach of SDA’s duty under NJLAD, and
knowingly giving substantial assistance or encouragement to the unlawful conduct of their

employer, Defendant Farrales is individually liable under NJLAD.

42. Defendants’ conduct was egregious, willful and wanton and in reckless disregard of
Plaintiff's nghts for which punitive damages are appropriate, and involved Defendant Saint

Dominic Academy’s Upper Management participation.

43. As aresult of the Defendants’ unlawful conduct, Plaintiff Simon suffered economic

damages including loss of income and benefits and emotional distress.

WHEREFORE, Plaintiff Simon demands judgment against Defendants SDA and
Defendant Farrales awarding her compensatory damages, inclusive of front and back pay;
emotional distress damages; punitive damages; reasonable attorney's fees and expenses pursuant

to N.J.S.A. § 10:5-27.1 and such other relief and damages the Court deems proper and just.
Case 2:19-cv-21271-JMV-MF_ Document1-1_ Filed 12/11/19 Page 11 of 18 PagelD: 14
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 10 of 14 Trans ID: LCV20192017374

FIFTH COUNT
(Differential Treatment in Violation of the New Jersey
Law Against Discrimination, N.J.S.A. 10:5-1, et seq., Religious Discrimination)

44. Plaintiff repeats and re-alleges each and every prior allegation as if set forth at length

herein.

45. Defendant Saint Dominic Academy’s failure to maintain employment of Plaintiff Simon

was, in whole or in part, due to her Religious beliefs.

46. Defendant SDA through their administrators treated Plaintiff differently based upon her
religious beliefs. Segregating Plaintiff Simon from usual Department Chair meetings,

responsibilities, and input to the Defendant SDA curriculum.

47. In taking actions that they knew were a breach of Defendant Saint Dominic Academy’s
duty under NJLAD, and knowingly giving substantial assistance or encouragement to the

unlawful conduct of their employer, Defendant Farrales is individually liable under NJLAD.

48, Defendants’ conduct was egregious, willful and wanton and in reckless disregard of
Plaintiff's rights for which punitive damages are appropriate, and involved SDA’s Upper

Management participation.

49, As aresult of the Defendants’ unlawful conduct, Plaintiff Simon suffered economic

damages including loss of income and benefits and also suffered emotional distress.

WHEREFORE, Plaintiff Simon demands judgment against Defendants SDA and
Defendant Guendolyn Farrales awarding her compensatory damages, inclusive of front and back
pay; emotional distress damages; punitive damages; reasonable attorney's fees and expenses
pursuant to N.J.S.A. § 10:5-27.1 and such other relief and damages the Court deems proper and

just.

10
Case 2:19-cv-21271-JMV-MF_ Document 1-1_ Filed 12/11/19 Page 12 of 18 PagelD: 15
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 11 of 14 Trans ID: LCV20192017374

SIXTH COUNT
SAINT DOMINIC ACADEMY—Breach of Contract

50. Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if
set forth at length herein.

51. The Employee Manual and the rules of the workplace, as described supra, created
a contract between Plaintiff Simon and Defendant Saint Dominic Academy because the
document’s plain language led her to reasonably believe that the company's policies regarding,
inter alia, job security would be honored and therefore obviate the need be harassed and subject
to a hostile work environment.

Sz: In firing Plaintiff Simon without just cause and failing to inform Plaintiff Simon
of her statutory rights under the leave requirements Defendant Saint Dominic Academy failed to
discharge its contractual duties as set forth in the Manual. Similarly, Defendant SDA committed
an additional breach when, in contravention of the Manual’s mandate, it failed to “to look after
JOAN SIMON’s interests” and make a good faith effort to accommodate JOAN SIMON after

she suffered the aforementioned disabling conditions.

53. Due to these stated breaches of contract, plaintiff was damaged.
WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on the Cause of Action and seeks the following relief: (1) compensatory damages; (ii)

pre-judgment interest; and (iii) such other relief as this Court deems just and proper.

SEVENTH COUNT
Breach of the Implied Covenant
of Good Faith and Fair Dealing

54. Plaintiff Simon hereby repeats and realleges all of the allegations set forth above as if
set forth at length herein.
55. Under New Jersey law, all contracts contain an implied covenant of good faith and fair

dealing (“the Implied Covenant’).

11
Case 2:19-cv-21271-JMV-MF Document 1-1 Filed 12/11/19 Page 13 of 18 PagelD: 16
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 12 of 14 Trans ID: LCV20192017374

56. Under the Implied Covenant, neither party may do anything that will thwart the other
party’s expectation or purpose under the contract and/or deprive that party of the benefit of the
contract.

57. In terminating Plaintiff Simon notwithstanding its knowledge that good cause for
discharge did not exist, in failing to inform her of her statutory rights for leave, and in neglecting
to make a bona fide attempt to accommodate Plaintiff Simon disabling condition(s), Defendant
Saint Dominic Academy breached the Implied Covenant.

58. As a direct and proximate result of Defendant Saint Dominic Academy’s breach of the

Implied Covenant, Plaintiff Simon has been damaged.

WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on this Cause of Action and seeks the following relief: (1) compensatory and punitive
damages; (ii) pre-judgment interest; (111) reinstatement with back pay; and (iv) such other relief

as this Court deems just and proper.

EIGHTH COUNT

Violations of N.J.S.A. §34:15-39.1:, et seq.
and Family Medical Leave Act, 29 U.S.C. §2601, et seq.

59. Plaintiff hereby repeats and re-alleges all of the allegations set forth above as if set forth

at length herein.

60. Under N.J.S.A. 34:15-39.1. et seq., as well as the FMLA, 29 U.S.C. §2601, et seq.
Defendant SDA was required to restore Plaintiff “to the position of employment held” when she
left for leave, or to “an equivalent position with equivalent employment benefits, pay, and other

terms and conditions of employment.”

61. Defendant SDA violated §34:15-39, et seq. and the FMLA when it terminated Plaintiff

upon her return to work following leave.

12
iled 12/11/19 Page 14 of 18 PagelD: 17
3 of 14 Trans ID: LCV20192017374

—_
_
~~
©
ue
~
NO
©
some
ice)
OO
N
oo
Oo
OD
0
“U

©
> —

62. Asa direct and proximate result of Defendant SDAs’ actions Plaintiff suffered injuries and

damages.

WHEREFORE, Plaintiff JOAN SIMON demands judgment against Defendant Saint Dominic
Academy on this Cause of Action and seeks the following relief: (1) compensatory and punitive
damages; (11) pre-judgment interest; (iii) reinstatement with back pay; and (iv) such other relief

as this Court deems just and proper.

JURY DEMAND
Plaintiff JOAN SIMON demands trial by jury on all claims and issues so triable.

DESIGNATION OF TRIAL COUNSEL

Suzy Yengo is hereby designated as trial counsel pursuant to R. 4:5-1(c).

Respectfully submitted,

LAW OFFICES OF GENESIS A, PEDUTO
8512 Kennedy Boulevard

North Bergen, New Jersey 07047

Attorneys for Plaintiff

Suzy R. Yengo, Esq. /s/
By

 

SUZY R. YENGO, ESQ, of counsel.
Dated: November 1, 2019

13
iled 12/11/19 Page 15 of 18 PagelD: 18
4 of 14 Trans ID: LCV20192017374

=
—
~—
©
oud
~~
i)
Oo
~~
ce]
OO
RO
=
oo
OD
“0
0

©
=

R. 4:5-1 CERTIFICATION
Pursuant to R. 4:5-1, the undersigned certifies that, to the best of his knowledge, the
within matters in controversy are not the subject of any other action pending in any other court or
of a pending arbitration proceeding nor is any action or arbitration proceeding contemplated nor

are other parties required to be joined in this action.

\si\ Bag Re Yonge

 

SUZY R. YENGO, ESQ.
Dated: November 1, 2019

14
Case 2:19-cv-21271-JMV-MF Document 1-1 Filed 12/11/19 Page 16 of 18 PagelD: 19

2
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 1 of 2 Trans ID: LCV20192017374

Appendix XII-Bl

 

aed Bee Ce EO) Reg

 

 

Civil Case Information Statement Payment type: Lick Cleg Lica
(CIS) Chg/Ck Number.
Use for initial Law Division aroun:

Civil Part pleadings (not motions) under Rule 4:5-1
Pleading will be rejected for filing, under Rule 1:5-6(c), | Overpayment:
if information above the black bar is not completed

 

 

 

 

 

 

 

 

or attorney’s signature is not affixed Batch Number.
Attorney/Pro Se Name Telephone Number County of Venue
SUZY YENGO, ESQ (#018041999) (201) 868-2240 Hudson
Firm Name (if applicable) Docket Number (when available)

Law Offices of Genesis A. Peduto, Esq.

 

 

 

 

 

 

 

 

 

Office Address Document Type
8512 Kennedy Boulevard COMPLAINT
North Bergen, New Jersey 07047
Jury Demand @ Yes (0 No
Name of Party (e.q., Jonn Doe, Plaintiff) Caption
JOAN SIMON JOAN SIMON v. SAINT DOMINIC ACADEMY; Guendolyn Farrales,
Individually

Case Type Number (See reverse side for listing) Is this a professional malpractice case? (0 Yes i No

Bs If you have checked “Yes.” see NU S.A 2A:53A-27 and applicable case law

é A regarding your obligation to file an affidavit of merit
Related Cases Pending? If “Yes,” list docket numbers
O Yes Hi No
Do you anticipate adding any parties Name of defendant's primary insurance company (if known)
(arising out of same transaction or occurrence)? (1 None
Yes (No HB Unknown

 

The Information Provided on This Form Cannot be Introduced into Evidence.

 

Case Characteristics for Purposes of Determining if Case is Appropriate for Mediation

 

 

Do parties have a current, past or recurrent relationship? If “Yes,” is that relationship:
. IB Employer/Employee (J Friend/Neighber (DO Other (explain)
i Yes C] No (7 Familial (C2 Business
Does the statute governing this case provide for payment of fees by the losing party? CO Yes No

 

Use this space to alert the court to any special case characteristics that may warrant individual management or accelerated disposition

 

bk Do you or your client need any disability accommodations? If yes, please identify the requested accommodation

 

(2 Yes Bi No
Will an interpreter be needed? If yes, for what language?
C1 Yes Hi No |

 

| certify that confidential personal identifiers have been redacted from documents now submitted to the court and will be
redacted from all documents submitted in the future in accordance with Rule 1:38-7(b).

4

Attorney Signature hes Ls Ae}
.— ,
ae) £4,

Revised Form Promulgated by wplan Notice to the Bar, CN 10517 page 1 of 2

 

 

 

 
Case

2:19-cv-21271-JMV-MF Document 1-1 Filed 12/11/19 Page 17 of 18 PagelD: 20
HUD-L-004248-19 11/01/2019 6:23:06 PM Pg 2 of 2 Trans ID: LCV20192017374

 

CIVIL CASE INFORMATION STATEMENT
(CIS)

Use for initial pleadings (not motions) under Rule 4:5-1

 

 

CASE TYPES (Choose one and enter number of case type in appropriate space on the reverse side.)

Track | - 150 days’ discovery
151. NAME CHANGE
175 FORFEITURE
302 TENANCY
399 REAL PROPERTY (other than Tenancy, Contract. Condemnation, Complex Commercial or Construction)
502 BOOK ACCOUNT (debt collection matters only)
505 OTHER INSURANCE CLAIM (including declaratory judgment actions)
506 PIP COVERAGE
510 UMor UIM CLAIM (coverage issues only)
511 ACTION ON NEGOTIABLE INSTRUMENT
512 LEMON LAW
801 SUMMARY ACTION
802 OPEN PUBLIC RECORDS ACT (summary action)
989 OTHER (briefly describe nature of action)

Track II - 300 days’ discovery
305 CONSTRUCTION
509 EMPLOYMENT (other than CEPA or LAD)
599. CONTRACT/COMMERCIAL TRANSACTION
603N AUTO NEGLIGENCE ~ PERSONAL INJURY (non-verbal threshold)
603Y AUTO NEGLIGENCE —- PERSONAL INJURY (verbal threshold)
605 PERSONAL INJURY
610 AUTO NEGLIGENCE —- PROPERTY DAMAGE
621 UM or UIM CLAIM (includes bodily injury)
699 TORT-OTHER

Track Il] - 450 days’ discovery
005 CIVIL RIGHTS
301 CONDEMNATION
602 ASSAULT AND BATTERY
604 MEDICAL MALPRACTICE
606 PRODUCT LIABILITY
607 PROFESSIONAL MALPRACTICE
608 TOXIC TORT
609 DEFAMATION
616 WHISTLEBLOWER / CONSCIENTIOUS EMPLOYEE PROTECTION ACT (CEPA) CASES
617 INVERSE CONDEMNATION
618 LAW AGAINST DISCRIMINATION (LAD) CASES

Track IV - Active Case Management by Individual Judge / 450 days’ discovery
156 ENVIRONMENTAL/ENVIRONMENTAL COVERAGE LITIGATION
303. MT. LAUREL
508 COMPLEX COMMERCIAL
513. COMPLEX CONSTRUCTION
514 INSURANCE FRAUD
620 FALSE CLAIMS ACT
701 ACTIONS IN LIEU OF PREROGATIVE WRITS

Multicounty Litigation (Track IV)

271. ACCUTANE/ISOTRETINOIN 297 MIRENA CONTRACEPTIVE DEVICE

274 RISPERDAL/SEROQUEL/ZYPREXA 299 OLMESARTAN MEDOXOMIL MEDICATIONS/BENICAR
281 BRISTOL-MYERS SQUIBB ENVIRONMENTAL 300 TALC-BASED BODY POWDERS

282 FOSAMAX 601 ASBESTOS

285 STRYKER TRIDENT HIP IMPLANTS 623 PROPECIA

286 LEVAQUIN 624 STRYKER LFIT CoCr V40 FEMORAL HEADS
289 REGLAN 625 FIREFIGHTER HEARING LOSS LITIGATION
291 PELVIC MESH/GYNECARE 626 ABILIFY

292. PELVIC MESH/BARD 627 PHYSIOMESH FLEXIBLE COMPOSITE MESH
293 DEPUY ASR HIP IMPLANT LITIGATION 628 TAXOTERE/DOCETAXEL

295 ALLODERM REGENERATIVE TISSUE MATRIX 629 ZOSTAVAX

296 STRYKER REJUVENATE/ABG If MODULAR HIP STEM COMPONENTS 630 PROCEED MESH/PATCH

If you believe this case requires a track other than that provided above, please indicate the reason on Side 1,
in the space under “Case Characteristics.

Please check off each applicable category [_] Putative Class Action (Title 59

 

 

 

Revised Form Promulgated by 07/01/2019 Notice to the Bar, CN 10517 page 2 of 2
Case 2:19-cv-21271-J
HUD-L-004248-1

Oz
<
<
=

ou
oO
QO

ument Filed 12/11/19 rags 18 of 18 PagelD: 21
19 6:23:06 PM Pg 1 of 1 Trans ID: LCV20192017374

Civil Case Information Statement

Case Details: HUDSON | Civil Part Docket# L-004248-19

Case Caption: YENGO SUZY VS ST DOMINIC ACADEMY Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
Case Initiation Date: 11/01/2019 Document Type: Complaint with Jury Demand

Attorney Name: GENESIS A PEDUTO Jury Demand: YES - 12 JURORS

Firm Name: GENESIS A PEDUTO, ESQ. Is this a professional malpractice case? NO

Address: 8512 KENNEDY BLVD STE 1 Related cases pending: NO

NORTH BERGEN NJ 07047 If yes, list docket numbers:

Phone: 2018682240 Do you anticipate adding any parties (arising out of same
Name of Party: PLAINTIFF : Yengo, Suzy, R transaction or occurrence)? NO

Name of Defendant’s Primary Insurance Company

(if known): Unknown

THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE

CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION

Do parties have a current, past, or recurrent relationship? YES
If yes, is that relationship: Employer/Employee
Does the statute governing this case provide for payment of fees by the losing party? YES

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

Please check off each applicable category: Putative Class Action? NO Title 597 NO

| certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

11/01/2019 /s/ GENESIS A PEDUTO
Dated Signed
